                                                 Case 8:13-bk-14702-MW       Doc 894 Filed 01/15/16 Entered 01/15/16 13:49:38                    Desc
                                                                              Main Document Page 1 of 2


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                                                   2   RINGSTAD & SANDERS LLP
                                                       2030 Main Street, 16th Floor                                  FILED & ENTERED
                                                   3   Irvine, CA 92614
                                                       Telephone: 949-851-7450
                                                   4   Facsimile: 949-851-6926                                              JAN 15 2016
                                                   5   General Bankruptcy Counsel for Bradley Sharp,
                                                       Chapter 7 Trustee                                               CLERK U.S. BANKRUPTCY COURT
                                                                                                                       Central District of California
                                                   6                                                                   BY bolte      DEPUTY CLERK


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                                                   8                             UNITED STATES BANKRUPTCY COURT
                                                   9                CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
                                                  10

                                                  11   In re                                         Case No. 8:13-bk-14702-MW

                                                  12   MARC JOSEPH SPIZZIRRI,                        Chapter 7 Proceeding
Ringstad & Sanders




                                                  13                                                 ORDER GRANTING DEBTOR’S MOTION TO
                2030 Main Street, 16 t h Floor
                 Irvine , California 92614




                                                                            Debtor.                  DISMISS CHAPTER 7 BANKRUPTCY CASE
                       949.851.7450




                                                  14                                                 UNDER 11 U.S.C. §§ 105, 305(a) AND 707(a)
                             L.L.P.




                                                  15
                                                                                                     Date: January 11, 2016
                                                  16                                                 Time: 2:00 p.m.
                                                                                                     Place: Courtroom 6C
                                                  17                                                        411 W. Fourth Street
                                                                                                            Santa Ana, CA 92701
                                                  18

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                                                  20           The Debtor’s Motion to Dismiss Chapter 7 Bankruptcy Case Under 11 U.S.C. §§ 105,
                                                  21   305(a) and 707(1) (the “Motion”) [Docket No. 871], came on for hearing before the Honorable
                                                  22   Mark S. Wallace, United States Bankruptcy Judge, on January 11, 2016, at 2:00 p.m. in the
                                                  23   above-entitled Court. Appearances were as noted on the record.
                                                  24           The Court having read and considered the Motion, the Declarations and evidence
                                                  25   submitted in support thereof, the Reply of Bradley Sharp, the Chapter 7 trustee for the bankruptcy
                                                  26   estate of Marc Joseph Spizzirri (the “Debtor”) [Docket No. 880], the Reply to the Motion filed by
                                                  27   Goe & Forsythe, LLP, former counsel for the Official Committee of General Unsecured Creditors
                                                  28   (the “Committee”) [Docket No. 876], the Opposition to the Motion filed by Mach-1 RSMH, LLC,
                                                 Case 8:13-bk-14702-MW          Doc 894 Filed 01/15/16 Entered 01/15/16 13:49:38               Desc
                                                                                 Main Document Page 2 of 2


                                                   1   Mach-1 Autogroup and Craig Baptiste (collectively, the “Mach-1 Creditors”) [Docket No. 881],

                                                   2   and related evidentiary objections (the “Evidentiary Objections”) [Docket Nos. 882 and 883], the

                                                   3   Response to the Motion filed by Hines & Shankman, LLP, former counsel for the Committee

                                                   4   [Docket No. 879], the Notice of Joinder to the Opposition of the Mach-1 Creditors filed by

                                                   5   Nichols Capistrano Associates [Docket No. 884], the Opposition to the Motion filed by Winthrop

                                                   6   Couchot Professional Corporation, former Ch. 11 special conflicts counsel for Debtor [Docket

                                                   7   No. 885], the Debtor’s Reply to the Mach-1 Creditors’ Opposition [Docket No. 887], and the

                                                   8   arguments of counsel, and good cause appearing therefor,

                                                   9           IT IS HEREBY ORDERED that:

                                                  10           1.      The Evidentiary Objections of the Mach-1 creditors are overruled in their entirety

                                                  11   for the reasons stated on the record;

                                                  12           2.      Final fee applications shall be heard on February 29, 2016 at 2:00 p.m., with fee
Ringstad & Sanders




                                                  13   applications to be filed and served on or before January 29, 2016, and any objections thereto
                2030 Main Street, 16 t h Floor
                 Irvine , California 92614
                       949.851.7450




                                                  14   filed and served on or before February 12, 2016. Per the request of the Trustee, orders allowing
                             L.L.P.




                                                  15   final fees and expenses may provide for the entry of judgments so that any professional who

                                                  16   chooses to may pursue its claim for unsatisfied allowed fees against the unadministered assets of

                                                  17   the estate which will be abandoned to the Debtor following dismissal; and,

                                                  18           3.      The Motion is granted and the case will be dismissed, with a 180-day bar to any

                                                  19   re-filing by the Debtor, effective twenty (20) days after entry of judgments or orders on final fee

                                                  20   applications.

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                                                       Date: January 15, 2016
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